Case 2:05-cV-02454-.]PI\/|-de Document 6 Filed 08/01/05 Page 1 of 2 Page|D 3

FII.ED BY_ ____ .C.

UNITED sTATEs DISTRICT couRT
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JoHN E. sHI:L'roN, JUDGnmn-r :cN A c:ch:L case
Plaintiff,
V.
sHELBY coUNTY GovERmmN'r, cAsE No= 05-2454 ml/v

SHELBY COUNTY SHERIFF'S
DEPARTMENT, and CHIEF JAIL
ADMINISTRATOR OF SHELBY COUNTY
JAIL,

Defendants.

 

JUDGMENT

 

JUDGMENT BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS THEREFORE ORDERED, ADUUDGED, AND DECREED that, in accordance
with the Order Granting Plaintiff’s Motion to Deem Complaint Filed
on November 22, 2004, and Order of Dismissal, entered August f ,
2005, this ease is DISMISSED.

APPROVED:

 

JO P. MCCALLA

UN TED STATES DISTRICT JUDGE

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DATE ({/j Clerk of Court

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Notice cf Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:05-CV-02454 Was distributed by faX, mail, or direct printing on
August 9, 2005 to the parties listed.

 

 

Carol J. Chumney
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

